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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

ENTERTAINMENT ONE UK LTD.,
                                                          Case No.: 1:18-cv-7689
       Plaintiff,
                                                          Judge Matthew F. Kennelly
v.
                                                          Magistrate Judge M. David Weisman
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.

                                    NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

 Dismissal, without prejudice, as to the following Defendant(s) on Schedule A, with leave to

 reinstate within ninety (90) days if the agreed settlement payment is not received. After ninety

 (90) days, the dismissal is with prejudice.

               NO.                                   DEFENDANT
               348                                      hk.3377
               256                                 beautifulyou_store
               233                                      6_09153
               505                                     xujie0519
               508                                  yaoruisheng6699
               231                                      5-04606
               461                                   stylishhome88
               432                                 reem-trendy-store
               354                                     huihui_k-8
               474                                      tideshoes
               308                                     emilbaybay
               251                                     angel*1986
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           248                               all_kinds_tool
           152                      Shenzhen Guoyan Bag Co., Ltd.
           462                              summer_store2
           366                               jiaoyang_899
           367                               jiaoyang_988
           368                               jiaoyang2011
           365                               jianjian2015
           240                               abc12345602
           221                     Yiwu Xingxiu Commerce Co., Ltd.
            38                                Eileen Store
           362                               jasminewym
           258                                becksy2018
           445                              shirley20060816
           263                                bigtree2200
           309                                   enitc
           452                              siboqiqihaer20
           522                                   bass
           418                               partytime2016



DATED: December 30, 2018                    Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            1033 South Blvd., Suite 200
                                            Oak Park, Illinois 60302
                                            Telephone: 708-203-4787
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF




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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on December 30, 2018 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all
registered attorneys of record.

                                                   /s/ Keith A. Vogt
                                                   Keith A. Vogt




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